UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK

 

Job #: 34510
Plaintiff(s)
DINO ANTOLONI
Index Number: 1:18-CV-10767
Date Filed:
CHRISTOPHER AND SEVEN REALTY LLC, ET AL Defendant(s)
Client’s File No.:
Court Date:
AFFIDAVIT OF SERVICE

STATE OF NEW YORK, COUNTY OF KINGS, SS.:
DWAYNE THOMAS, being sworn says:

Deponent is not a party herein; is over the age of 18 years and resides in the State of New York.

On 11/30/2018, at 9:56 AM at: 145 HUGUENOT STREET, ROOM-503, NEW ROCHELLE, NY 10801 Deponent served the within SUMMONS
IN A CIVIL ACTION, JURY TRIAL REQUESTED, EXHIBIT(S)
On: CHRISTOPHER AND SEVEN REALTY LLC, therein named.

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Sworn to before me on 12/26/2018

#1 INDIVIDUAL
By delivering a true copy of each to said recipient personally; Deponent knew the person so served to be the person described in as said recipient therein.

#2 SUITABLE AGE PERSON
By delivering thereat a true copy of each to () a person of suitable age and discretion. Said premises is recipient's:[] actual place of business /
employment [] dwelling house (usual place of abode) within the state.

#3 AFFIXING TO DOOR

By affixing a true copy of each to the door of said premises which is defendants

[] actual place of business / employment [] dwelling house (usual place of abode) within the state. Deponent was unable with due diligence to find
defendant or person of suitable age and discretion thereat having visited there

Corporation or Partnership or Trust or LLC

By delivering thereat a true copy of each to MICHELLE DOE (RECEPTIONIST) personally. Deponent knew said corporation/partnership/trust/LLC so
served to be the corporation/partnership/trus/LLC described in said aforementioned document as said defendant and knew said individual to be
thereof.

#5 MAILING

On 12/03/2018, deponent enclosed a copy of same in a postpaid envelope properly addressed to defendant at defendant's last known [] Actual
Place of Residence [X] Actual Place of Business, 145 HUGUENOT STREET, ROOM-503, NEW ROCHELLE, NY 10801 and deposited the
envelope in an official depository, personally or via agency, under the exclusive care and custody of the U.S. Postal Service within New York State.
The envelope bore the legend "personal and confidential" and did not indicate on the outside, thereof by return address or otherwise that the
communication was from an attorney or concerned an action against the defendant.

Certified & First Class Mail #

#6 DESCRIPTION

Sex: Female Color of skin: BROWN Color of hair: BLACK Glasses:

Age: 29-35 Yrs. Height: 5'4"-5' 8" Weight: 131-160 Lbs. Other Features:
#7 MILITARY SERVICE

| asked the person spoken to whether defendant was in active military service of the United States or the State of New York in any capacity whatever
and received a negative reply. The source of my information and the grounds of my belief are the conversations and observations above narrated.

 

#8 WITNESS FEES
Subpoena Fee Tendered in the amount of TAMARA TOWSHIN ALAM
#9 OTHER Notary Public, State of New York

Registration No. 01AL6369961
Qualified in Kings County
Commission Expires January 22, 2022

 

 

 

 

DWAYNE THOMAS

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SERVABLE LEGAL SUPPORT CO. 808 UNION STREET, SUITE 3A BROOKLYN, NY 11215 646-363-5527
UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK

 

Job #: 34511
Plaintiff(s)
DINO ANTOLONI
Index Number: 1:18-CV-10767
Date Filed:
CHRISTOPHER AND SEVEN REALTY LLC, ET AL Defendant(s)
Client’s File No.:
Court Date:
AFFIDAVIT OF SERVICE

STATE OF NEW YORK, COUNTY OF KINGS, SS.:
JOSHUA BURKE, being sworn says:

Deponent is not a party herein; is over the age of 18 years and resides in the State of .

On 12/1/2018, at 4:53 PM at: 57-59 CHRISTOPHER STREET- KETTLE OF FISH, NEW YORK, NY 10014 Deponent served the within
SUMMONS IN A CIVIL ACTION, JURY TRIAL REQUESTED, EXHIBIT(S)
On: PATRICK DALEY, therein named.

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Sworn to before me on 12/03/2018

NOTARY PUBLIC 4—~,

#1 INDIVIDUAL
By delivering a true copy of each to said recipient personally; Deponent knew the person so served to be the person described in as said recipient therein.

#2 SUITABLE AGE PERSON
By delivering thereat a true copy of each to JOHN DOE (CO-WORKER) () a person of suitable age and discretion. Said premises is recipient's:[X] actual
place of business /employment [] dwelling house (usual place of abode) within the state.

#3 AFFIXING TO DOOR

By affixing a true copy of each to the door of said premises which is defendants

[] actual place of business / employment [] dwelling house (usual place of abode) within the state. Deponent was unable with due diligence to find
defendant or person of suitable age and discretion thereat having visited there

Corporation or Partnership or Trust or LLC
By delivering thereat a true copy of each to personally. Deponent knew said corporation/partnership/trust/LLC so served to be the
corporation/partnership/trust/LLC described in said aforementioned document as said defendant and knew said individual to be thereof.

#5 MAILING

On 12/03/2018, deponent enclosed a copy of same in a postpaid envelope properly addressed to defendant at defendant's last known [] Actual
Place of Residence [X] Actual Place of Business, 57-59 CHRISTOPHER STREET- KETTLE OF FISH, NEW YORK, NY 10014 and deposited the
envelope in an official depository, personally or via agency, under the exclusive care and custody of the U.S. Postal Service within New York State.
The envelope bore the legend "personal and confidential" and did not indicate on the outside, thereof by return address or otherwise that the

communication was from an attorney or concerned an action against the defendant.
Certified & First Class Mail #

#6 DESCRIPTION

Sex: MaleColor of skin: CAUCASIAN Color of hair: BLONDE Glasses:

Age: 35 Height: 5ft 4in - 5ft 8in Weight: 161-200 Lbs. Other Features:
#7 MILITARY SERVICE

| asked the person spoken to whether defendant was in active military service of the United States or the State of New York in any capacity whatever
and received a negative reply. The source of my information and the grounds of my belief are the conversations and observations above narrated.

 

 

 

 

 

#8 WITNESS FEES
Subpoena Fee Tendered in the amount of TAMARA TOWSHIN ALAM
#9 OTHER Notary Public, State of New York
Individual did want to accept papers or give his name. Registration No. 01AL6369961
Qualified in Kings County ; .
Commission Expires January 22, 2022 C Lh od
(OF)

 

JOSHUA BURKE
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UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK

 

Job #: 34512
Plaintiff(s)
DINO ANTOLONI
Index Number: 1:18-CV-10767
Date Filed:
CHRISTOPHER AND SEVEN REALTY LLC, ET AL Defendant(s)
Client’s File No.:
Court Date:
AFFIDAVIT OF SERVICE

STATE OF NEW YORK, COUNTY OF KINGS, SS.:
JOSHUA BURKE, being sworn says:

Deponent is not a party herein; is over the age of 18 years and resides in the State of .

On 12/1/2018, at 4:53 PM at: 57-59 CHRISTOPHER STREET- KETTLE OF FISH, NEW YORK, NY 10014 Deponent served the within
SUMMONS IN A CIVIL ACTION, JURY TRIAL REQUESTED, EXHIBIT(S)
On: 15 ACRES INC., therein named.

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#1 INDIVIDUAL
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#2 SUITABLE AGE PERSON
By delivering thereat a true copy of each to () a person of suitable age and discretion. Said premises is recipient's:[] actual place of business /
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Corporation or Partnership or Trust or LLC
By delivering thereat a true copy of each to JOHN DOE (CO-WORKER) personally. Deponent knew said corporation/partnership/trust/LLC so served to
be the corporation/partnership/trust/LLC described in said aforementioned document as said defendant and knew said individual to be thereof.

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Certified & First Class Mail #

#6 DESCRIPTION

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Age: 35 Height: 5ft 4in - 5ft 8in Weight: 161-200 Lbs. Other Features:
#7 MILITARY SERVICE

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and received a negative reply. The source of my information and the grounds of my belief are the conversations and observations above narrated.

 

 

 

 

[1] #8 WITNESS FEES
Subpoena Fee Tendered in the amount of
TAMARA TOWSHIN ALAM
ne #9 OTHER Notary Public, State of New York
Individual did not want to accept papers or give his name Registration No. 01AL6369961
Qualified in Kings County _
Commission Expires January 22, 2022 es ok _
pe
JO
Cf
Sworn to before me on 12/03/2018 OFWoO (if

 

 

a A fy JOSHUA BURKE
NOTARY PUBLIC 4 [a] in 2074221

SERVABLE LEGAL SUPPORT CO. 808 UNION STREET, SUITE 3A BROOKLYN, NY 11215 646-363-5527
